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EXHIBIT

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00:00;00; Service Type - Specia| Process Server; Reason Description - Served; Service Texi - GARY SCAP|NN|, MANAGER,
CT CORP SYSTEM

[:| Certificate of Service

 

Cer'tiflcate of Service of Discovery issued to Defendant GE Healthcare |nc.
Filed By: MAX GEORGE MARGUL|S
On Beha|f Of: RADHA GE|SMANN MD PC

m Certificate of Service

 

Affidavit for proof of service of GE Heaithcare on 3 19 15,
Filed By: MAX GEORGE MARGUL|S
On Behalf Of: RADHA GE|SMANN MD PC

03/05/2015 m Summ lssd- Circ Pers Serv O/S

Document ID: 15-SMOS-200, for GE HEALTHCARE, |NC.. Summons Attached in PDF Form for Attorney to Retrieve from
Secure Case.Net and Process for Service.

 

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Filed By: MAX GEORGE MARGUL|S
|:] Note to Clerk eFiiing

Filed By: MAX GEORGE MARGUL|S
m Pet Filed in Circuit Ct

 

Class Action Petition.

Request for Appointment of Process Server for GE Hea|thcare, lnc. APPROVED MARCH 5 2015
Filed By: MAX GEORGE MARGUL|S
On Beha|f Of: RADHA GE|SMANN MD PC

m Motion Filed

Motion for C|ass Certincation.
Filed By: MAX GEORGE MARGUL|S

m Judge Assigned

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158L-CC00779

STATE OF MISSOURI )
)
ST. LOUIS COUNTY )

IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY

STATE OF MISSOURI

 

RADHA GEISMANN, M.D., P.C., individually and on
behalf of all others similarly-situatcd,

Plaintiff,
v.

GE HEALTHCARE, INC.,
Serve: CT CORPORATION SYSTEM
One Corporate Center
Hartford, CT 06103-3320

 

 

 

Cause No.

Division

PROCESS SERVER

 

Hartford County
JOHN DOES 1-10, HOLD SERVICE l
Defendants. `
CLASS ACTION PETITION

 

Plaintiff, RADHA GEISMANN, M.D., P.C. (“Plaintiff”), brings this action on behalf of

itself and all others similarly situated, through its attorneys, and except as to those allegations

pertaining to Plaintiff or its attorneys, Which allegations are based upon personal knowledge,

alleges the following upon information and belief against Defendants, GE HEALTHCARE, INC.,

and JOHN DOES l~lO (“Defendants”):

PRELIMINARY STATEMENT

l. This case challenges Defendants’ practice of sending unsolicited facsimile

advertisements

a

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2. The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person
or entity from sending or having an agent send fax advertisements without the recipient’s prior

express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper

opt out notice. The TCPA provides a private right of action and provides statutory damages of

$500 per violation.

3. Unsolicited faxes damage their recipients An advertising fax recipient loses the
use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable
time that would have been spent on something else. An advertising fax interrupts the recipient’s
privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use
for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message.
An advertising faX consumes a portion of the limited capacity of the telecommunications
infrastructure serving the victims of advertising faxing.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendants under the TCPA, the common law of conversion

and Missouri consumer and fraud and deceptive business practices act Chapter 407.

 

5. Plaintiff seeks an award of statutory damages for each violation of the TCPA.
JURISDICTION AND PARTIES
6. This court has personal jurisdiction over Defendants because Defendants transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

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7. Plaintiff RADHA GEISMANN, M.D., P.C., is a professional corporation with its
principal place of business in St. Louis County, Missouri.

8. On information and belief, Defendant, GE HEALTHCARE, INC., is a corporation
with its principal place of business in New Jersey.

9. Defendant, John Does 1-10 will be identified through discovery, but are not
presently known.

RELEVANT FACTS

10. On June 24, 2014 and August 18, 2014 Defendants sent 2 unsolicited facsimiles to
Plaintiff in St. Louis County, Missouri. A true and correct copy of the facsimiles are attached as
Exhibits A-B (excluding any handwritten notations).

1 1. The transmissions sent to Plaintiff on or about June 24, 2014 and August 18, 2014
constitutes material advertising the commercial availability of any property, goods or services.

12. On information and belief, Defendants have sent other facsimile transmissions of
material advertising the commercial availability of property, goods, or services to many other
persons as part of a plan to broadcast fax advertisements of which Exhibits A-B is an example

13. Defendants approved, authorized and participated in the scheme to broadcast fax
advertisements by (a) directing a list to be purchased or assembled; (b) directing and supervising
employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;
and (d) determining the number and frequency of the facsimile transmissions

14. Defendants created or made Exhibits A-B and other fax advertisements, which

Defendants sent to Plaintiff and the other members of the class.

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15 . Exhibits A-B and the other facsimile advertisements are a part of Defendants’ work

or operations to market Defendants’ goods or services which was performed by Defendants and on

behalf of Defendants.

16. Exhibits A-B and the other facsimile advertisements are constitute material

furnished in connection with Defendants’ work or operations.

17. The transmissions of Exhibits A-B to Plaintiff did not contain a notice that informs

the recipient of the ability and means to avoid future unsolicited advertisements

18. The transmission of facsimile advertisements, including Exhibits A-B, to Plaintiff

did not contain a notice that informs the recipient of the ability and means to avoid future

unsolicited advertisements

19. The transmission of facsimile advertisements, including Exhibits A-B, to Plaintiff
did not contain a notice that states that the recipient may make a request to the sender of the
advertisement not to send any future advertisements to a telephone facsimile machine or machines

and that failure to comply, within 30 days, with such a request meeting the requirements under

paragraph 47 C.F.R. 64.1200(a)(3)(v) of this section is unlawful.

20. The transmissions of facsimile advertisements, including Exhibits A-B, to Plaintiff

did not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47

C.F.R. 64.1200(a)(3).

21. The transmissions of facsimile advertisements, including Exhibits A-B, to Plaintiff

was required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C)

and/er 47 C.F.R. 64.1200(3)(3).

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22. On information and belief, Defendants sent multiple facsimile advertisements to
Plaintiff and members of the proposed classes throughout the time period covered by the class
definitions

23. On information and belief, Defendants faxed the same and other facsimile
advertisements to the members of the proposed classes in Missouri and throughout the United
States without first obtaining the recipients’ prior express permission or invitation.

24. There is no reasonable means for Plaintiff (or any other class member) to avoid
receiving unlawful faxes. Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

25. Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibits A-B hereto to
Plaintiff and the other members of the class without obtaining their prior express permission or
invitation and not displaying the proper opt out notice required by 64 C.F.R. 1200.

26. Defendants knew or should have known that: (a) facsimile advertisements
including Exhibits A-B, were advertisements; (b) Plaintiff and the other members of the class had
not given their prior permission or invitation to receive facsimile advertisements (c) No
established business relationship existed with Plaintiff and the other members of the class; and (d)
Defendants did not display a proper opt out notice.

27. Defendants engaged in the transmission of facsimile advertisements including
Exhibits A-B, believing such transmissions were legal based on Defendants’ own understanding of
the law and/or based on the representations of others on which Defendants reasonably relied.

28. Defendants did not intend to send transmissions of facsimile advertisements

including Exhibits A-B, to any person where such transmission was not authorized by law or by

 

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the recipient, and to the extent that any transmissions of facsimile advertisement was sent to any
person and such transmission was not authorized by law or by the recipient, such transmission was
made based on either Defendants’ own understanding of the law and/or based on the
representations of others on which Defendants reasonably relied.

29. Defendants failed to correctly determine the legal restrictions on the use of
facsimile transmissions and the application of those restrictions to the transmission of facsimile
advertisements including Exhibits A-B, both to others in general, and specifically to Plaintiff.

30. The transmissions of facsimile advertisements including Exhibits A-B, to Plaintiff
and other members of the class caused destruction of Plaintiff's property.

31. The transmissions of facsimile advertisements including Exhibits A-B, to Plaintiff
and other members of the class interfered with Plaintiff‘s and other members of the class’ exclusive
use of their property.

32. The transmissions of facsimile advertisements including Exhibits A-B, to Plaintiff
and other members of the class interfered with Plaintiffs and other members of the class’ business
and/or personal communications

COUNT I
TELEPHONE CONSUlVlER PROTECTION ACT, 47 U.S.C. 8 227

33. Plaintiff incorporates the preceding paragraphs as though fully set forth herein.
34. Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47
U.S.C. § 227, on behalf of the following class of persons:
All persons who (1) on or after four years prior to the filing of this action, (2)
were sent by or on behalf of Defendant any telephone facsimile transmissions
of material making known the commercial existence of, or making '

qualitative statements regarding any property, goods or services (3) with
respect to whom Defendants cannot provide evidence of prior express

 

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permission or invitation for the sending of such faxes, (4) with whom iii
Defendants does not have an established business relationship or (5) which
did not display a proper opt out notice.

35. A class action is warranted because:

a. On information and belief, the class includes more than forty persons and is

so numerous that joinder of all members is impracticable

 

b. There are questions of fact or law common to the class predominating over
questions affecting only individual class members including without limitation:
i. Whether Defendants engaged in a pattern of sending unsolicited fax
advertisements
ii. Whether Exhibits A-B and other faxes transmitted by or on behalf of
Defendant contains material advertising the commercial availability of any
property, goods or services;
iii. Whether Defendants’ facsimiles advertised the commercial
availability of property, goods or services;
iv. The manner and method Defendants used to compile or obtain the
list of fax numbers to which they sent Exhibits A-B and other unsolicited
faxed advertisements
v. Whether Defendants faxed advertisements without first obtaining the
recipients’ prior express permission or invitation;
vi. Whether Defendants violated the provisions of 47 USC § 227;
vii. Whether Plaintiff and the other class members are entitled to

statutory damages

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36.

C.

d.

viii. Whether Defendants knowingly violated the provisions of 47 USC §
227;

ix. Whether Defendants should be enjoined from faxing advertisements
in the future;

x. Whether the Court should award trebled damages and

xi. Whether Exhibits A-B and the other fax advertisements sent by or on
behalf of Defendant displayed the proper opt out notice required by 64
C.F.R. 1200.

Plaintiff s claims are typical of the other class members

Plaintiff will fairly and adequately protect the interests of the other class

members Plaintiffs counsel are experienced in handling class actions and claims

involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

any interests adverse or in conflict with the absent class members

C.

A class action is the superior method for adjudicating this controversy fairly

and efficiently. The interest of each individual class member in controlling the

prosecution of separate claims is small and individual actions are not economically

feasible.

Plaintiff will fairly and adequately protect the interests of the other class members

Plaintiff’s counsel are experienced in handling class actions and claims involving unsolicited

advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has any interests adverse or in conflict

with the absent class members

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37. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of each individual class member in controlling the prosecution of separate
claims is small and individual actions are not economically feasible. 5

38. The TCPA prohibits the “use of any telephone facsimile machine, computer or m

other device to send an unsolicited advertisement to a telephone facsimile machine. . ..” 47 U.S.C. §§`
§ 227(b)(1).
39. The TCPA defines “unsolicited advertisement,” as “any material advertising the

commercial availability or quality of any property, goods or services which is transmitted to any
person without that person’s express invitation or permission.” 47 U.S.C. § 227(a)(4).
40. The TCPA provides:

Private right of action. A person may, if otherwise permitted by the laws or
rules of court of a state, bring in an appropriate court of that state:

(A) An action based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

(B) An action to recover for actual monetary loss from such a violation,
or to receive $500 in damages for each such violation, whichever is greater,
or
(C) Both such actions
41. The Court, in its discretion, may treble the statutory damages if the violation was
knowing. 47 U.S.C. § 227.
42. The TCPA is a strict liability statute and the Defendants are liable to Plaintiff and
the other class members even if their actions were only negligent

43. Defendants’ actions caused damages to Plaintiff and the other class members

Receiving Defendants’ advertising faxes caused the recipients to lose paper and toner consumed in

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the printing of Defendants’ faxes. Moreover, Defendants’ actions interfered with Plaintiffs use of
its fax machine and telephone line connected to that fax machine. Defendants’ faxes cost Plaintiff
time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing
Defendants’ unlawful faxes. That time otherwise would have been spent on Plaintiff’s business
activities Finally, Defendants’ faxes unlawfully interrupted Plaintiff’s and the other class
members’ privacy interests in being left alone.

44. Defendants did not intend to cause damage to Plaintiff and the other class members ljs
did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines
or consume the recipients’ valuable time with Defendants’ advertisements

45. If the court finds that Defendants knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the amount
of the award to an amount equal to not more than three times the amount available under
subparagraph (B) of this paragraph 47 U.S.C. § 227(b)(3).

46. Defendants knew or should have known that: (A) Plaintiff and the other class
members had not given express permission or invitation for Defendants or anyone else to fax
advertisements about Defendants’ goods or services (B) Defendants did not have an established
business relationship with Plaintiff and the other members of the class (C) Exhibits A-B and the
other facsimile advertisements were advertisements and (D) Exhibits A-B and the other facsimile
advertisements did not display the proper opt out notice.

47. Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibits A-B and the

other facsimile advertisements hereto to Plaintiff and the other members of the class without

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obtaining their prior express permission or invitation and not displaying the proper opt out notice
required by 64 C.F.R. 1200.

48. Defendants knew or should have known that: (a) Exhibits A-B and the other
facsimile advertisements were advertisements (b) Defendants did not obtain prior permission or
invitation to send facsimile advertisements including Exhibits A-B; (c) Defendants did not have
an established business relationship with Plaintiff or the other members of the class and (d)
Exhibits A-B and the other facsimile advertisements did not display a proper opt out notice.

49. Defendants engaged in the transmission of Exhibits A-B and the other facsimile
advertisements believing such a transmissions were legal based on Defendants’ own understanding
of the law and/or based on the representations of others on which Defendants reasonably relied.

50. Defendants did not intend to send transmission of Exhibits A-B and the other
facsimile advertisements to any person where such transmission was not authorized by law or by
the recipient, and to the extent that any transmission of Exhibits A-B and the other facsimile
advertisements were sent to any person and such transmission was not authorized by law or by the
recipient, such transmission was made based on either Defendants’ own understanding of the law
and/or based on the representations of others on which Defendants reasonably relied.

51. Defendants failed to correctly determine the legal restrictions on the use of
facsimile transmissions and the application of those restrictions to the transmission of Exhibits A-
B and the other facsimile advertisements both to others in general, and specifically to Plaintiff.

52. Defendants’ actions caused damages to Plaintiff and the other class members
because their receipt of Defendants’ unsolicited fax advertisements caused them to lose paper and

toner consumed as a result. Defendants’ actions prevented Plaintiff’s fax machine from being used

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for Plaintiff’s business purposes during the time Defendants were using Plaintiffs fax machine for ’”
Defendants’ unauthorized purpose. Defendants’ actions also cost Plaintiff employee time, as

Plaintiff s employees used their time receiving, routing and reviewing Defendants’ unauthorized `ss
faxes and that time otherwise would have been spent on Plaintiffs business activities Finally, the
injury and property damage sustained by Plaintiff and the other members of the class occurred
outside of Defendants’ premises Pursuant to law, Plaintiff, and each class member, instead may
recover $500 for each violation of the TCPA.

WHEREFORE, Plaintiff, RADHA GEISMANN, M.D., P.C., individually and on behalf of
all others similarly situated, demand judgment in its favor and against Defendants GE
HEALTHCARE, INC., and JOHN DOES 1-10, as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiffs counsel
as counsel for the class;

B. That the Court award between $500.00 and $1,500.00 in damages for each violation
of the TCPA;

C. That the Court enter an injunction prohibiting the Defendants from engaging in the
statutory violations at issue in this action; and

D. That the Court award costs and such further relief as the Court may deem just and
proper.

E. That the Court award pre-judgment and post-judgment interest at the statutory rate

of 9%.

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53.
paragraph 53.

54.

COUNT II
CONVERSION

Plaintiff incorporates Paragraphs 3 and 4, 10, 13 ~ 16, 22 - 24 and 27 ~ 32 as for its

In accordance with l\/Io. S. Ct. Rule 52.08, Plaintiff brings Count ll for conversion

under the common law for the following class of persons:

55.

All persons who on or after five years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendants with respect
to whom Defendants cannot provide evidence of prior express permission or
invitation.
A class action is proper in that:
a. On information and belief the class is so numerous that joinder of all
members is impracticable.
b. There are questions of fact or law common to the class predominating over
all questions affecting only individual class members including:
i. Whether Defendants engaged in a pattern of sending unsolicited
faxes;
ii. Whether Defendants sent faxes without obtaining the recipients’
prior express permission or invitation of the faxes;
iii. The manner and method Defendants used to compile or obtain the
list of fax numbers to which it sent Exhibits A-B and other unsolicited faxes;
iv. Whether Defendants committed the tort of conversion; and

v. Whether Plaintiff and the other class members are entitled to recover

actual damages and other appropriate relief.

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c. Plaintiff’s claims are typical of the other class members

d. Plaintiff will fairly and adequately protect the interests of the other class

members Plaintiff`s counsel are experienced in handling class actions and claims s

involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiffs counsel has

any interests adverse or in conflict with the absent class members

e. A class action is the superior method for adjudicating this controversy fairly

and efficiently. The interest of each individual class member in controlling the
prosecution of separate claims is small and individual actions are not economically """"
feasible.

56. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who is experienced in handling class actions and claims involving
unlawful business practices Neither Plaintiff nor Plaintiffs counsel have any interests adverse or
in conflict with the class

57. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible

58. By sending Plaintiff and the other class members unsolicited faxes Defendants
improperly and unlawfully converted their fax machines toner and paper to its own use.
Defendants also converted Plaintiffs employees’ time to Defendants’ own use.

59. Immediately prior to the sending of the unsolicited faxes Plaintiff, and the other

class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.

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60. By sending the unsolicited faxes, Defendants permanently misappropriated the class
members’ fax machines toner, paper, and employee time to Defendants’ own use. Such

misappropriation was wrongful and without authorization. ’""

 

61. Defendants knew or should have known that its misappropriation of paper, toner,
and employee time was wrongful and without authorization.
62. Plaintiff and the other class members were deprived of the use of the fax machines

paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff

and each class member thereby suffered damages as a result of the sending of unsolicited fax
advertisements from Defendants

63. Each of Defendants’ unsolicited faxes effectiver stole Plaintiffs employees’ time
because persons employed by Plaintiff were involved in receiving, routing, and reviewing
Defendants’ unlawful faxes. Defendants knew or should have known employees’ time is valuable
to Plaintiff.

64. Defendants’ actions caused damages to Plaintiff and the other members of the class
because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner as a
result. Defendants’ actions prevented Plaintiffs fax machines from being used for Plaintiff"s
business purposes during the time Defendants was using Plaintiff"s fax machines for Defendants’
unlawful purpose. Defendants’ actions also cost Plaintiff employee time, as Plaintiffs employees
used their time receiving, routing, and reviewing Defendants’ unlawful faxes, and that time

otherwise would have been spent on Plaintiffs business activities

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WHEREFORE, Plaintiff, RADHA GEISMANN, M.D., P.C., individually and on behalf of
all others similarly situated, demand judgment in its favor and against Defendants GE
HEALTHCARE, INC., as follows:

A. That the Court adjudge and decree that the present case may be properly maintained s
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiff"s counsel ll
as counsel for the class;

B. That the Court award appropriate damages

C. That the Court award costs of suit; and

D. Awarding such further relief as the Court may deem just and proper.

COUNT III
MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

Chapter 407

65 . Plaintiff incorporates Paragraphs 3 and 4, 10, 13 - 16, 22 ~ 24 and 27 - 32 as for its
paragraph 65 .

66. In accordance with Chapter 407, Plaintiff, on behalf of the following class of
persons bring Count III for Defendants’ unfair practice of sending unsolicited and unlawful fax
advertisements

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendants with respect
to whom Defendants cannot provide evidence of prior express permission or
invitation.

67. A class action is proper in that:

a. On information and belief the class consists of over 40 persons in Missouri

and throughout the United States and is so numerous thatjoinder of all members is

impracticable.

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b.

There are questions of fact or law common to the class predominating over

all questions affecting only individual class members including:

C.

d.

i. Whether Defendants engaged in a pattern of sending unsolicited
faxes;
ii. The manner and method Defendants used to compile or obtain the

list of fax numbers to which it sent Exhibits A-B and other unsolicited faxes;

iii. Whether Defendants’ practice of sending unsolicited faxes violates
Missouri public policy;
iv. Whether Defendants’ practice of sending unsolicited faxes is an

unfair practice under the Missouri Merchandising Practices Act (l\/Il\/IPA),
Chapter 407 RSMO; and

v. Whether Defendants should be enjoined from sending unsolicited
fax advertising in the future.

Plaintiffs claims are typical of the other class members

Plaintiff will fairly and adequately protect the interests of the other class

members Plaintiff’s counsel are experienced in handling class actions and claims

involving unsolicited advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has

any interests adverse or in conflict with the absent class members

C.

A class action is the superior method for adjudicating this controversy fairly

and efficiently. 'Fhe interest of each individual class member in controlling the

prosecution of separate claims is small and individual actions are not economically

feasible.

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68. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who are experienced in handling class actions and claims involving
lawful business practices Neither Plaintiff nor Plaintiffs counsel have any interests adverse or in
conflict with the class

69. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible.

70. Defendants’ unsolicited fax practice is an unfair practice, because it violates public
policy, and because it forced Plaintiff and the other class members to incur expense without any
consideration in return. Defendants’ practice effectively forced Plaintiff and the other class
members to pay for Defendants’ advertising campaign.

71. Defendants violated the unfairness predicate of the Act by engaging in an
unscrupulous business practice and by violating Missouri statutory public policy, which public
policy violations in the aggregate caused substantial injury to hundreds of persons

72. Defendants’ misconduct caused damages to Plaintiff and the other members of the
class including the loss of paper, toner, ink, use of their facsimile machines and use of their
employees’ time.

73. Defendants’ actions caused damages to Plaintiff and the other class members
because their receipt of Defendants’ unsolicited faxes caused them to lose paper and toner
consumed as a result. Defendants’ actions prevented Plaintiffs fax machine from being used for
Plaintiff’s business purposes during the time Defendants was using Plaintiffs fax machine for

Defendants’ unlawful purpose. Defendants’ actions also cost Plaintiff employee time, as

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Plaintiff’s employees used their time receiving, routing, and reviewing Defendants’ unlawful faxes

and that time otherwise would have been spent on Plaintiffs business activities

WHEREFORE, Plaintiff, RADHA GEISMANN, M.D., P.C., individually and on behalf of

all others similarly situated, demand judgment in its favor and against Defendants GE

HEALTHCARE, INC., and JOHN DOES 1-10, as follows:

A.

That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint Plaintiff as the class representative, and appoint Plaintiff’s counsel as

counsel for the class;

B.

C.

That the Court award damages to Plaintiff and the other class members;

That the Court award treble damages to Plaintiff and the other class members for
knowing violations ofthe TCPA;

That the Court declare that Defendants’ conduct violated the TCPA and that this
action is just and proper;

That the Court award damages for conversion of the plaintiffs and the class for
violation of their rights;

That the Court award damages and attorney fees for violation of Chapter 407;

That the Court award attorney fees and costs;

That the Court award all expenses incurred in preparing and prosecuting these
claims;

That the Court enter an injunction prohibiting Defendants from sending faxed
advertisements and

Awarding such further relief as the Court may deem just and proper.

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Respectfully submitted,

/s/ Max G. Margulis fs
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Phone: (847) 368-1500

Fax: (847) 368-1501

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6/24/2214 12=51 We-eee-'?oes Te: Dr. Redha Geismann 3 S\Lp q X- id 112 _
[ PeerPerspectives forVisualClarity j----- gtg;[esnczsamm£ W

"Because dopamine neurons ore lost in parkinsonian
syndromes, but not in nonparkinsonian disorders such
as essential tremo`r, seeing evidence of that loss helps
in my differential diagnosis."

- Dovid Russeli, MDl PhD ~3:
associate Clin-lcal Research Dlrector, institute for Neurociegenerative Disorders
Assistant Clinicoi l>rofessor, Yoie. University Scnool of Medieine

 

 

DaTscan, the first and only FDA-opproved visual adjunct imaging agent to aid
in the differentiation between essential tremor and parkinsonian syndromes

”We neurologists have very high clinical diagnostic sensitivity in one study, over 90% of the people with .
Parkinson‘s disease were accurately diagnosed But. specificity was extremely low - and my own experience
corroborates this Almost half of patients in that study who had symptoms but did not have Pdrkinson's '
disease had first been diagnosed as having lt.l

l find that brain SPECT imaging with DaTecan is useful, because it tags doparnine transporters and gives me
a direct indication of dopomine terminal loss.” - Dr, Russeli

§..:.

Like Dr. Russeii, consider prescribing brain SPECT imaging with DaTscan
for your appropriate patients.

 

For more information on how visualization of striatai dopamine transporter lDa'i'l distribution may aid
in the clinical diagnosis of parkinsonion syndromes. visit US.DoTecan.com/fax.

DcTscan is a federally controlled substance lSchedu|e iii. A DEA license is required for handling
or administering this controlled substance '

important Risk and Safety information About DaTsoan

iNDiCATlCNS AND USE: DaTscan is a radiopharmooeutlcol indicated for striotoi dopomine transporter visualization
using single-photon emission computed tomography iSPECTl brain imaging to assist in the evaluation of adult patients
with suspected porkinsonian syndromes lPSsi. DoTscan may be used to help differentiate essential tremor'from
rremor due to PS ildiopothic Parkinson's disease iPDi, multiple system atrophy iMSA], and progressive supranuciear
palsy [PSP]l. DaTscan is on adjunct to other diagnostic evaluations DoTscan was not designed to distinguish among
PD. M$A. and PSP. The effectiveness of DaTscon as a screening or confirmatory test and for monitoan disease
progression or response to therapy has not been established CONTRAiNDiCATiONS: DaTscan is contraindicated
in patients with known hypersensitivity to the active substancel any of the excipients. or iodine. WARN|NGS AND
PRECAUTIONS - Hypersensltivity Reactions: l-lypersensi“dvity reactions generally consisting of skin erythema
and pruritus. have been reported following DaTscan administration Thyroid Accumulotion: The DaTscan injection
may contain up to 6% of free iodide iiodine 123 or 1~1.231. To decrease thyroid accumulation of l-123. block the

thyroid giand at least one hour before administration of DaTscan: failure to do so may increase the long-term risk
for thyroid neoplasia.

Please see additional l mporta ntRisk and Safety information About DaTscan on the

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Case: 4:15-cv-00603-AGF Doc. #: 1-3 Filed: 04/10/15 Page: 24 of 38 PageiD #: 30
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important Risk and Safety information Abo ut DaTsca nTM lioflupane i 123 injectioni icont‘di

ADVERSE REAC|'|ONS: in clinical triais. headache, nausea. vertigo. dry mouthl or dizziness of mild to moderate severity

were reported in postmarkean experience hypersensitivity reactions and injection-site pain have been reported

DRLiG lNTE RACT|CNS: Drugs that bind to the dopamine transporter with high affinity may interfere with the DaTscan

image. T he impact of dopamine agonists and antagonists on DaTscan imaging results has not been established
SPECIF|C PQPULATiONS - Pregnancy: it is unknown whether DaTscan can cause fetal harm or increase 'd'ie risk
of pregnancy loss in pregnant women DaTscan should be given to pregnant women only if clearly needed. Like fi`>
ali radlopharmaceuticals, DaTscan may cause fetal harm. depending on the stage of fetal development and the """
magnitude of the radionuclide dose. Radioactive iodi ne products cross the placenta and can permanently impair fetal
thyroid function Nursing Mothers: lt is not known whether DaTscan is excreted into human miik; howeverl i-123 is
excreted into human miik. Because many drugs are excreted into human milk and because of the potential for serious ii
adverse reactions in nursing infants, o decision should be made whether to interrupt nursing after administration of
DaTscan or not to administer DaTscan at ali. Nursing women may consider interrupting nursing and pump and discard

breast milk for six days after DaTscan administration to minimize risiG to a nursing lnfant. Pediatric Use: The safety _._.
and efficacy of DaTscan have not been established in pediatric patients Geriatric Use: There were no differences ;j;f;
in responses between the elderly and younger patients that would require a close adjustment. Renol and Hepatic .".
impairment The effect of renal or hepatic impairment on DaTscan imaging has not been established `l'he kidney :‘~'
excretes DaTscan; patients with severe renal impairment may have increased radiation exposure and altered DaTscan
imagesl DRl.iG ABUSE AND DEPENDENCE: ioflupane i 123 injection is a DEA Schedule ll controlled substance A DEA ~é‘
license is required for handling or administering this controlled substance OVERDOSAGE: lt is unknown whether or

not ioflupane is dialyzable. The major risks of overdose relate to increased radiation exposure and long-term risk for
neopiosia. in case of radioactivlty overdosage. frequent urination and defecation should be encouraged to minimize

radiation exposure to the patient. PROCEDURE - Radiation Safety: DaTscan emits radiation and must be handled

with safety measures to minimize radiation exposure to clinical personnel and patients

Prior to DaTscan administration please read the Full Prescrlblng information available at US.DaTscan.oom/fox/pi.
Reference: 1. Data on lile. DaTscan New Drug Application. GE Healthcare: 2013.

 

 

Go to US.DaTscan.com for more information
Cu§tomer Servioe 800 292 8514

Reimbursement Hotiine 800 767 6664

Medica| Affalrs 800 654 0118 loption Z,then option 3l

wwwgeheaithcare.oom

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Vou have opted to receive this kind of information if you would like to unsubscribe from our fox list,
please email us at; unsubscribe.DaTscan@ge.com. if you unsubscribe. you will no longer receive
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please notify the sender as soon as possible

DaTscan'"a

Ioflupane 1123 injection

0 2014 G¢neroi Eecuic Campo_'iy -Ail rights reserved
GE the GE Mar\ogram, and imagination ot work ore
trademarks 01 Ger\erai Ei¢ctnc Comoony.

DaTscan is a trademark af Gema'ai Eiecuic Cornpany
or one of irs subsidiaries

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imagination at work

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Attn: Aviation Meclical E><aminers (AME's), '

The use of modem transmission
will no longer be available after -
September 30, 20141

Are you ready?

GE Healthcare has the right solution for youl

Visit mdsolations.gehealthcare.com/FAA to make
the right connectionl

1. http'J/www.'iaa.gov/ol'.her_visit/aviation_industry/designees_delegations/designee_types/ame/esgmodernizatior\/

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158L-CC00779

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IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS

sTATE oF MISSOURI

RADHA GEISMANN, M.D., P.C., individually
and on behalf of all others similarly-situated, Cause No.
Plaintiff, Division

GE HEALTHCARE, INC.,

and JOHN DOES 1-10,

 

MOTION FOR CLASS CERTIFICATION l

COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by
and through its undersigned counsel, and for its Motion for Class Certification, states

1. This cause should be certified as a class because all of the necessary elements of
Rule 52.08 are met.

2. Plaintiff requests that the Court certify a class, so the common claims of the Class
members, based on a uniform legal theory and factual allegations applicable to all Class
members, can be resolved on a class-Wide basis.

3. Plaintiff proposes the following Class definition:

 

1. Recent developments in class action practice make necessary the filing of this motion
With the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to “pick-off” the putative
class representative and thereby derail the class action litigation. Most courts have rejected these
pick-off attempts and have held that the filing of a motion for class certification with the initial
petition or Within a number of days after service of any settlement offer to a named plaintiff
Staves off offers of judgment to the named plaintiff Any settlement offer made after the filing of
the motion for class certification must be made on a class-Wide basis. See Alpern v. UtiliCorp
United, 84 F.3d 1525 (Sth Cir. 1996); Wel`ss v. Regal Collectl`ons, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Jancik v. Cavally Portfolio Servs., 2007 WL 1994026, at *2-3 (D. Minn. July 3,
2007) Harrl`s v. Messerll` & Kramer, P.A., 2008 WL 508923, at *2-3 (D. Minn. Jan. 2, 2008)
(Same); Johnson v. U.S. Bank Nat’l Assn., 276 F.R.D, 330, 333-335 (D. Minn. 2011) (same). See
also Lucero v. Bureau of Collection Recovery, lnc., 639 F.3d 1239, 1249 (10th Cir. 2011); Mey
v. Monitrom`cs Int’l, Inc., 2012 WL 983766, at * 4-5 (N.D. W.Va. Mar. 22, 2012); Hrivnak v.
NCO Portf)ll`o Mgmt., Inc., 723 F.Supp.2d 1020, 1029 (N.D. Ohio 2010); McDowall v. Cogan,
216 F.R.D. 46, 48-50 (E.D. N.Y. 2003).

2.

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All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages of material advertising pharmaceutical
products by or on behalf of Defendants.

4. Under Rule 52.08(a)(1), to bring a Class action, the Class must be “so numerous
that joinder of all members is impracticable.” Rule 52.08(a)(1). I-lere, there are at least hundreds
of persons who fall within the Class definition. Thus, the numerosity requirement of Rule
52.08(a)(1) is satisfied.
5. There are questions of law or fact common to the Class members
6. The claims or defenses of the representative parties are typical of the claims or
defenses of this Class. i-f=!
7. Plaintiff and its counsel will fairly and adequately protect the interest of the Class.
8. Common issues of law or fact predominate over any individual issues, and a class
action is the superior method for the fair and efficient adjudication of this controversy.
9. The prosecution of separate actions by individual members of the class would
create a risk of inconsistent or varying adjudications which would establish incompatible
standards of conduct for the party opposing the class.
10. The prosecution of separate actions by individual members of the class would
create a risk of adjudications with respect to individual members of the class which would as a

practical matter be dispositive of the interests of the other members not parties to the
adjudications or substantially impair or impede their ability to protect their interests.

11. Plaintiff requests additional time to file its supporting l\/Iemorandum of Law after
the Court sets up an appropriate discovery schedule. Written discovery related to class
certification issues is presently outstanding

WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant
statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to

2

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members of the class, and further pray that the Court appoint Plaintiff as Class Representative,

appoint Plaintist attorneys Class Counsel; that this Court allow Plaintiff additional time, for
completion of discovery related to class certification issues, to file its Memorandum of Law in
Support of this Motion; and for such other and further relief as the Court deems appropriate
under the circumstances

Respectfully submitted,

/s/ Max G. Margulis
Max G. Margulis, #24325

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F: (847) 368-1501

E-Mail: bwancai"'c_i>andersonwanca.com

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served on the Defendant GE
HEALTHCARE, INC. by the process server at the same time as the petition.

/s/ Max G. Margulis

 

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158L-CC00779

ln the

C|RCU|T COURT

Of St. Louis County, Missouri

Wm &asmcim l\/\‘b. l P.C.

Plaintiff/Petitlonerim()`~\V\()\uol\`4"/\(;:“§d on mmp Date
Of all Othcr=> sliv\'i\a)d\q 6\ ted

vs. Case Number

st william \r\c, gm Tgi\“ ma

Defendant/Respondent \'\® Division L _|

For File Stamp Only

 

 

 

REQUEST FOR APPO|NTMENT CF PROCESS SERVER

Comes now i/\G\\ Q) 1\/\5.1( §ll\\l§ 03€®(¥\91}\ ‘QL\” Q\Gl\l\‘\"\‘i:j; , pursuant

Requesting Party ~)
to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of

U\`Tmr\¥nw§¥x `lQi Doa\)\pod bn 'Em/Mi\$m\ C:i oli'l`ltn Ssu)o-“IQS€-ul»¢l?

 

 

 

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Name of Process Server Address or in the Altemative Tda;tms

Natural person(s) of lawful age to serve the summons and petition in this cause on the below
named parties. This appointment as special process server does not include the authorization
to carry a concealed weapon in the performance thereof.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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City/State/Zip ;(XO\Y¥GO(A QBW City/State/Zip

SERVE: SERVE:

Name Name

Address Address y

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Appolnted as requested: %Cj, %

JOAN M. GlLMER, Circuit Clerk Max G. Mengulls 24325
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By Deputy Clerk ::;:::;°98) 535'7022 (:3:)“536- 6652

gate Phone No. Fax NQ,

 

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‘;“1§;)\"»',~ l
§ IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

  

 

 

 

 

Judge or Division: Case Number: lSSL-CC00779
TOM W DE PRIEST JR
Plaintiff/Petitioner: Plaintif`f’s/Petitioner’s Attorney/Address:
RADHA GEISMANN MD PC MAX GEORGE MARGULIS

28 OLD BELLE MONTE ROAD

vs. CHESTERFIELD, MO 63017
Defendant/Re spondent: Court Address:
GE HEALTHCARE, INC, ST LOUIS COUNTY COURT BUILDlNG
Nature Of Suitz 7900 CARONDELET AVE
. . CLAYTON, MO 63105 _

CC Inj unctlon (Date File Stamp)

 

 

 

Summons for Personal Service Outside the State of Missouri
(Except Attachment Action)
The State of Missouri to: GE HEALTHCARE, INC.

 

Alias:
C'I` CORPORATION SYSTEM
ONE CORPORATE CENTER
HARTFORD, CT 06103-3320

COURTSEAL OF You are summoned to appear before this court and to file your pleading to the petition, copy ofwhich is
.c attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
file your pleading, judgment by default will be taken against you for the relief demanded in this action,
SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
notify the Ofiice of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
business days in advance of the court proceeding.

 

ST. l.m/IS Col/NTY
05-MAR-2015

 

Date Clerk
Further Information:
TLC
Officer’s or Server’s Afiidavit of Service
I certify that:
l. l am authorized to serve process in civil actions within the state or territory where the above summons was served.
2. My official title is of County, (state).

 

3. l have served the above summons by: (check one)

I:i delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

i:j leaving a copy ofthe summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
, a person of the Defendant’s/Respondent’s family over the age of 15 years.
[:I (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

(name) (citle).
l:l other (describe) .
Served at (address)
in County, (state), on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Subscribed and Sworn To me before this (day) (month) (year)

 

I am: (check one) l:l the clerk of the court of which affiant is an officer.
E] the judge of the court of which affiant is an officer.
l:l authorized to administer oaths in the state in which the affiant served the above summons.
(Seal)
(use for out-of-state officer)
[:l authorized to administer oaths. (use for court-appointed server)

 

Signature and Title

 

Service Fees, if applicable

 

 

 

 

Summons $
Non Est $
Mileage $ L miles @ $ per mile)
Total $
See the following page for directions to clerk and to officer making return on service ofsummons.
osCA (7-04) sMeo For Court Use only: Documenr ID# ls-sMOS-zoo 1 (1ssL-CC00779) Rules 54.06, 54.07, 54.14, 54.20;

506.500, 506.510 RSMO

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Directions to Clerk

Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. 'l`he clerk
should insert in the summons the names of only the Defendant/Respondcnt or Defendants/Respondents who are to be
personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
be mailed along with the original summons to the officer who is to make service. The copy ofthe summons may be a carbon
or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
actions. (See Rule 54.06, 54.07 and 54.14)

 

Directions to Officer Making Return on Service of Summons

A copy ofthe summons and a copy ofthe motion must be served on each Defendant/Respondent. lfany
Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
to receive the same.

Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
appointment or required by law to receive service ofprocess; (4) On Pub|ic or Quasi-Public Corporation or Body. Upon a
public, municipal, governmental or quasi-public corporation or body in the case ofa county, to the mayor or city clerk or city
attorney in the case ofa city, to the chief executive officer in the case of any public, municipal, govemmental, or quasi-public
corporation or body or to any person otherwise lawfully so designated.

Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
where such service is made.

Service may be made in any state or territory of the United States. If served in a territory, substitute the word "'territory”
for the word “state.”

The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
person is an officer or other person authorized to administer oaths. This affidavit must state the tim e, place, and manner of
service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
territory where service is made.

Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
service.

 

 

OSCA (7-04) SM60 For Court Use Only: Document ID# lS-SMOS-ZOU 2 (lSSL-CC00779) Rules 54.06, 54.07, 54.14, 54.20;
506.500, 506.510 RSMO

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THE ClRCUlT COURT OF ST. LOU|S COUNTY, MlSSOUR|

Twenty First Judicial Circuit

NOT|CE OF ALTERNAT|VE DlSPUTE RESOLUT|ON SERV|CES

Purpose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place, This is often true even
When the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigationl lt also eliminates any uncertainty about the results of a trla|.

Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
early in the course of a lawsuit Your attorney can aid you in deciding whether and when such services
would be helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. ln some circumstances a judge of this court may refer your case to an alternative
dispute resolution procedure described below. These procedures are not a substitute for the services
of a lawyer and consultation with a lawyer is recommended Because you are a party to a lawsuit you
have obligations and deadlines which must be followed whether you use an alternative dispute
resolution procedure or not |F YOU HAVE BEEN SERVED WlTH A PET|T|ON, YOU MUST FlLE A
RESPONSE ON TlME TO AVO|D THE RlSK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
CHOOSE TO PURSUE AN ALTERNAT|VE DlSPUTE RESOLUT|ON PROCEDURE.

Alternative Dispute Reso|ution Procedures

There are several procedures designed to help parties settle lawsuits l\/lost of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations
who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
are:

(1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
or a panel of three persons) hears both sides and decides the case. The arbitrators decision is not
binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
less formal than a trial, is usually shorter, and may be conducted in a private setting ata time mutually
agreeable to the parties The parties by agreementl may select the arbitrator(s) and determine the
rules under Which the arbitration will be conducted

(2) Mediation: A process in Which a neutral third party facilitates communication between the
parties to promote settlement. An effective mediator may offer solutions that have not been considered
by the parties or their lawyers A mediator may not impose his or her own judgment on the issues for
that of the parties

CCAD|V|73

OSCA (7-04) SM60 For Court Use Only: Document lD# lS-SMOS-ZOO 3 (lSSL-CC00779) Rules 54.06, 54.07, 54.14, 54.20;
506.500, 506.510 RSMo

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(3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding

assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process

(4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding

(Q Summarv Jurv Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict The verdict then becomes the starting point for settlement negotiations among
the parties

Selectinq an A|ternative Dispute Resolution Procedure agd a Neutral

lf the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list The Circuit Clerk also has Neutral Qualificatlons Forms on Hle. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise They also
indicate the types of alternative dispute resolution services each neutral provides

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Oche of Dispute
Resolution Services 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualiflcations Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Quallflcation Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further informationl

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506.500, 506.510 RSMo

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AFFIDAvlT QF s§vac§

State of Missouri County of St Louis County 21st Judicia| Circuit Court
Case Number: 1SSL-CC00779

Plaintiff:
Radha Geismann MD PC

VS.

Defendant:
GE Healthcare, lnc.

Fon

Max Margu|is

28 Old Belle Monte Rd
Chesterfield, MO 63017

Received by Max Margu|is to be served on GE Healthcare CIO CT Corporation System, One Corporate Center.
Hartford, CT 06103.

l, Stephen Tomkowski, being duly swornl depose and say that on the 19th day of March, 2015 at 10:52 am, |:

served a CORPORAT|ON by delivering a true copy of the Summons and Complaint Class Action Petition,
Plaintist First Set of lnterogatorriesDirected to GE Healthcare, lnc with the date and hour of service
endorsed thereon by me, to: Gary Scapinnl as Managerl Ct Corporation System forGE Healthcare C/O CT
Corporation System, at the address of: One Corporate Center, Hartford, CT 06103, and informed said person of
the contents therein, in compliance with state statutes

Description of Person Served: Age: 50, Sex: M, Race/Skin Colon W, Height: 6', Weight:180, Haic GRAY,
G|asses:Y " _ . :, ',

I certify that-l am over the age`of 18, have no interest in the above action; and aim a Certifled Process Server. in
good _standing, in the judicial circuit in which the process was served. `

 

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Subscribed and Sworn to before me on the 23rd day Stephen`T'omkowski
of March, 2015 byt e aff'i ho is personally known Process Server
' ' "28 Old Bel|e` Mont'e Rd ` ‘ "
Chesterfield, Mo 63017
My Comm/'ss/`an Expires _ _ (636) 536'7°22 v ~_ _ j _ ,
F€l””a’l’ 23 2077 our Job serial Numben DcT-2015002108

copyright o 1992-2011 panama savim, inc. - mims somers rooi`box vs.sn

Case: 4:15-cv-00603-AGF Doc. #: 1-3 Filed: 04/10/15 Page: 35 of 38 PagelD #: 41

 

Due Process CT |NVO|CE lnvoice #DCT-2015002108
18 Dogwood Drive '__ 3123/2015
New Milford, CT 06776

Phone: (sso) 788-sess
… l|||l|||l||||l|ll||||||||l||||

Max Margulis w
28 Old Bel|e Monte Rd
Chesterfield, MO 63017

¢ase Number: St Louis County 158L-CCOO779

Plaintirr; ~
Radha Geismann MD PC `

Defendant:
GE Healthcare, lnc.

Served: 3/19/2015 10:52 am
To be served on: GE Healthcare ClO CT Corporation System

 

 

 

 

lTEMlZED LlSTlNG
Line |tem Quantity Price Amount
Service Fee (Statewide) 1.00 60.00 60.00
ToTAL cHAReED: ` $60.00
03/16/2015 Pre-Payment 60.00
BALANCE DUE: $0.00

Thank you for your business!

Thanks again and all the best!

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Case: 4:15-cv-00603-AGF Doc. #: 1-3 Filed: 04/10/15 Page: 36 of 38 PagelD #: 42

STATE OF MISSOURI )

)
COUNTY oF sT. Louis )

IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
STATE OF MISSOURI

RADHA GEISMANN, M.D., P,C., individually
and on behalf of all others similarly-situated, Cause No. lSSL-CCOO779

Plaintiff, Division 8
v.

GE HEALTHCARE, INC.,
and JOHN DOES 1-10,

 

Defendant

 

CERTIFICATE OF SERVICE OF DISCOVERY ISSUED TO
DEFENDANT GE HEALTHCARE INC.

The undersigned certifies that Plaintiff’s First Set of Interrogatories to Defendant,
Plaintiff’s First Request for Admissions Directh to Defendant and Plaintiff’s First Request for
Production of Documents Directed to Defendant Were served on the Defendant, GE Healthcare,

lnc., by the process server on the 19"' day of March, 2015.

/s/ Max G. Margulis
Max G. Margulis, #24325
MARGULIS LAW GROUP
28 Old Belle Monte Rd.
Chesterfield, MO 63017
P: (636) 536-7022 - Residential
F: (636) 536-6652 - Residential
E-Mail: MaxMargulis@MargulisLaW.com

Case: 4:15-cv-00603-AGF Doc. #: 1-3 Filed: 04/10/15 Page: 37 of 38 PagelD #: 43

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AFF|DAV|T OF SERV|C§

State of Missouri k County of St Louis County 21st Judicia| Circuit Court
Case Number: 158L-CC00779

Plaintiff:
Radha Geismann MD PC

VS.

Defendant:
GE Healthcare, lnc.

For.

Max Margulis

28 Old Belle Monte Rd
Chesterfield, MO 63017

Received by Max Margulis to be served on GE Healthcare CIO CT Corporation System, One Corporate Center.
Hartford, CT 06103.

I, Stephen Tomkowskil being duly swom, depose and say that on the 19th day of March, 2015 at 10:52 am, l:

served a CORPORAT|ON by delivering a true copy of the Summons and Complaint Class Action Petition,
Plaintiff‘s First Set of |nterogatorriesDirected to GE Healthcare, lnc with the date and hour of service
endorsed thereon by me, to: Gary Scapinnl as Managerl Ct Corporation System forGE Healthcare C/O CT
Corporation System, at the address of: One Corporate Center, Hartford, CT 06103, and informed said person of
the contents therein, in compliance with state statutes

Description of Person Served: Age: 50, 3eszl Race/Skin Color. W, Height:6', Weight:180, Hair. GRAY,
G|asses:Y " _ _. j_ _

l certify that'l am over the.age of 18, have no interest in the above actionand am a'Cenified Process Server, in

good_standing, in the judicial circuit in which the process was served.`

\Qi @A/é{)/Jviy_/{£

Subscribed and Sworn to before me on the 23rd day Stephen`fomkowski
of March, 2015 byt e affi » ho is personally known Process Server

   
   

.Ma)t Margulis 4
' 28 Old Belle Monte Rd
chesterfieid, Mo 63017
My Comm/`ssion Expl'res l j (636) 536-7°22 . 4
F€b’”"”/ 23' 2017 our Job serial Number. ocr-2015002108

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Case: 4:15-cv-00603-AGF Doc. #: 1-3 Filed: 04/10/15 Page: 38 of 38 PagelD #: 44

Due Process CT l VO|cE
18 Dogwood Drive L_

New Milford, CT 06776

lnvoice #DCT-2015002108

3123/201 5

Phone: (860) 788-6698
041 543664

Max Margulis
28 Old Belle Monte Rd
Chesterfield, MO 63017

Case Number: St Louis County 153L-CC00779

Plaintiff:
Radha Geismann MD PC

Defendant
GE Healthcare, lnc.

Served: 3/19/2015 10:52 am
To be served on: GE Healthcare C/O CT Corporation System

lTEMlZED LlSTlNG

 

Line item Quantity

l'°rice

Amount

 

Service Fee (Statewide) 1.00

60.00

60.00

 

TOTAL CHARGED:

03/16/2015 Pre-Payment

$60. 00
60.00

 

BALANCE DUE:
Thank you for your businessl

Thanks again and all the best!

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$0.00

